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                                                                        Page 1

1               IN THE UNITED STATES DISTRICT COURT

2          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

3

4

5

6

7          CIVIL ACTION NO.:               1:19-cv-272-LCB-LPA

8

9          MAXWELL KADEL, et al.

10                      Plaintiffs

11

12         v.

13

14         DALE FOLWELL, et al.

15                      Defendants

16

17

18              REMOTE VIDEOTAPED VIDEOCONFERENCE

19                      DEPOSITION TESTIMONY OF:

20                         PATRICK LAPPERT, M.D.

21                             September 30, 2021

22

23



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                                                                        Page 2

1                           A P P E A R A N C E S

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4          videoconference):

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                                                                        Page 3

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2          videoconference):

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17         ALSO PRESENT (via remote

18         videoconference):

19

20         Andrew Baker, Videographer

21

22

23



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                                                                      Page 84

1          these meetings in more detail.                         So, how

2          many -- strike that.

3                       You've been to two meetings

4          organized by ADF?

5               A.      That's my recoll- -- yeah, two

6          meetings.          I think that's right.

7               Q.      All right.           Let's start with the

8          first one.          This was in 2017?

9               A.      That sounds about right, yeah.

10              Q.      What --

11              A.      I think it was 2017, yeah.

12              Q.      What month roughly?

13              A.      I don't remember now.

14              Q.      Do you know how they came to

15         invite you to that first meeting?

16              A.      I do not.

17              Q.      Before that meeting, you had not

18         published anything about gender

19         dysphoria, had you?

20              A.      No.

21              Q.      Before that meeting, you had not

22         published anything about the risks of use

23         of hormone blockers in minors; right?



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                                                                      Page 85

1               A.      No.     I've given -- I gave some

2          -- some -- I think they may have heard of

3          me not through publications, but through

4          public speaking.

5               Q.      How long have you been doing

6          public speaking on the issues related to

7          gender dysphoria?

8               A.      Since 2014.

9               Q.      Let's start with the first

10         meeting.        So, Dr. Hruz was also present

11         at that meeting?

12              A.      Yes.

13              Q.      Was Dr. Levine present at that

14         meeting?

15              A.      I don't think I've ever met Dr.

16         Levine, so I don't -- he couldn't have

17         been there because I would have

18         remembered meeting him, and I don't

19         remember ever having met him.

20              Q.      How about Dr. McHugh?

21              A.      No.     I would have remembered

22         him.      He's a very famous person.

23              Q.      How many people were present at



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                                                                      Page 90

1          heart of the presentation was what's the

2          state of the science and where is the

3          reliable science coming from and what is

4          it -- what is it showing us, so.                          But

5          they also -- the audience wanted to have

6          an understanding of what these plastic

7          surgery interventions were.                       So there was

8          an extensive discussion of the

9          particulars of the surgeries, the details

10         about the surgeries, the typical outcomes

11         of the surgeries, so.

12              Q.      I want to -- strike that.

13                      One of the topics of discussion

14         at that meeting was about the need to

15         have expert witnesses for litigation;

16         right?

17                      MR. KNEPPER:            Objection, form,

18         scope.

19              A.      I remember -- I remember a

20         fairly long discussion about the poverty

21         of people who are willing to testify

22         because of the risk that they take in

23         testifying.          That was a -- that was a



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                                                                      Page 91

1          fairly long discussion.                   And the

2          difficulty that that -- that people have

3          in finding expert witnesses because of

4          the risks they place themselves in, in

5          testifying.

6               Q.      And people at that meeting were

7          asked whether they would be willing to

8          participate as expert witnesses; right?

9               A.      Yes.

10              Q.      Before that meeting, you had

11         never testified as an expert witness?

12              A.      Before this moment, I never

13         testified as an expert witness.

14              Q.      Who made the introductory

15         remarks at the beginning of this meeting?

16                      MR. KNEPPER:            Objection, form,

17         scope.

18              A.      I'm trying to remember.                     It was

19         a -- it was an attorney whose first name

20         is Jeff, and I'm trying to remember what

21         his last name was.                But he seemed to be

22         the -- the -- kind of the emcee, if you

23         will.      Yeah, Jeff.            I'll see if, in the



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